          Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )
                                             )       Criminal No. 1:22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED                              )
                                             )
                      Defendant              )
                                             )



 NOTICE OF AFFIRMATIVE DEFENSES, AND OF USE-OF-FORCE EXPERT
                         STEVEN HILL
COMES NOW Defendants Rick Slaughter and Caden Gottfried, by and through

undersigned counsel John Pierce, who give notice that Slaughter and Gottfried

intend to argue and present evidence of justifiable use of force regarding some

aspects of their defense.



                                       INTRODUCTION
       The Due Process Clause requires the prosecution to prove beyond a reasonable doubt

every element of the charged criminal offense. See In re Winship, 397 U.S. 358, 364 (1970). The

burden to prove or disprove an element of the offense may not be shifted to the defendant. See

id.; see also Patterson v. New York, 432 U.S. 197, 215 (1977). However, if a defendant asserts a

defense that has the effect of negating any element of the offense, the prosecution must disprove

that defense beyond a reasonable doubt. See Patterson, 432 U.S. at 210. In effect, the assertion

of an affirmative defense adds an additional element to the government’s burden of proof.
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              Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 2 of 6




       Steve Hill as the defense team’s expert on the evaluation of in the fields of use-of-force, self-

defense, and crowd control.


                                       NOTICE OF DEFENSE EXPERT

           Defense informs the United States Attorney’s Office and the Court that the defense is

intending to designate Steve Hill 1 as the defense team’s expert on the evaluation of in the fields of

use-of-force and police civil liability. (See Steve Hill Curriculum Vitae attached hereto).

           Pursuant to Criminal Procedure Rule 26(a)(2)(B), Mr. Hill is not one retained or specially

employed to provide expert testimony in a case similar to this matter. Mr. Hill has conducted police

training instruction to officers and related agencies on a national level, and has provided expert

testimony in the State of New Mexico, “State of New Mexico” related courts.

           Mr. Hill has extensive expertise and experience in the use of force. He has used every level

of force, including deadly force. He has extensive expertise and experience in crowd control and

was the leader of the tactical SWAT team for the City of Albuquerque for several years. Mr. Hill

has trained thousands of police officers, including officers from throughout the world, including

Ukraine, China, Mongolia, Vietnam, Sri Lanka, and Jordan.

(3)        THE WITNESS’S QUALIFICATIONS, INCLUDING A LIST OF ALL
           PUBLICATIONS AUTHORED IN THE PREVIOUS 10 YEARS.


             Mr. Hill is retired from a lengthy career in law enforcement, institution security, crowd

control and use of force training. He is a Master level certified instructor through the Department

of Energy/National Training Center. Mr. Hill specializes in advanced tactical management, critical

incident management, Special Weapons and Training (SPO-III), hazardous material tactical



1
    Hereafter referred to as “Expert Hill” or “Mr. Hill”.
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          Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 3 of 6




response, mobile field force, firearms instruction, criminal investigations, rappel master, first line

supervision, electronic surveillance operations, and police civil liability.

         Mr. Hill’s areas of expertise are tactical operations, response force training,

nuclear/radiological security of fixed and transportation assets. He is an expert in the use of

tabletop exercises for response training, data collection and physical security for fixed and mobile

security high-risk assets.

         Mr. Hill is a retired Systems Engineer with Transportation Systems Analysis at Sandia

National Laboratories (SNL). At SNL, he was an engineer with the Security Training and Risk

Analysis Team (STRAT) where he built response related training programs and conducted security

analysis in the areas of nuclear, radiological, chemical and biological security and response. Mr.

Hill also participated in the theory and development of future lethal and less lethal weapon systems

as part of lab directed research and development teams, resulting in being named in two patent

applications for an electronic control device (Taser technology) and disintegrating ballistic

materials).

         Mr. Hill is also retired from the Albuquerque Police Department, where he was the one

of the highest-ranking officers for many years and led and supervised hundreds of high-risk tactical

events to include hostage resolutions, high risk search warrants, armed/violent offenders,

demonstrator, and riot control. He served as the supervisor of the SWAT Team for over 8 years

and was a detective in the Special Investigative Department/Repeat Offender Project. Steve has

more than 30 years of experience in training state, local and federal standards-enforcement

personnel in lethal and less lethal use-of-force and had worked part time for the DOE National

Training Center and the U.S. Department of State.

         Mr. Hill has reviewed discovery productions 1 and 2.

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          Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 4 of 6




         Mr. Hill is reviewing further discovery in this case and has previously reviewed discovery

in several other January 6 cases. Specifically, Mr. Hill has reviewed extensive video footage of

violence and weapon deployment in the West side “tunnel” of the Capitol and the Capitol’s Upper

West Terrace. Mr. Hill previously testified as an overview witness regarding munitions use in the

Proud Boy trial (United States v. Nordean) as well as the Kenneth Joseph Alberts trial before U.S.

District Judge Friedrich.

         Mr. Hill’s general conclusions regarding violence and use of force in “the Tunnel” on

January 6, 2021.

         Mr. Hill makes the following conclusions, after reviewing hundreds of hours of footage

of violence on the west side of the Capitol on January 6 and dozens of hours directly relating to

the West side “Tunnel.”

         1. There was excessive force used by numerous law enforcement personnel employed

             by the Metropolitan Police Department.

         2. This excessive force consisted of massive deployment of irritants, gasses, and spray

             munitions in an extremely enclosed areas, in violation of all governing use of force

             manuals and policies.

         3. This excessive force also included beatings by baton strikes to the heads and faces of

             several demonstrators who did not pose a lethal threat, in violation of all governing

             use of force manuals and policies.

         4. Failure to properly announce and warn members of the public regarding deployment

             of less-than-lethal munitions, in violation of every governing manual and policy.

(4)    A LIST OF ALL OTHER CASES IN WHICH, DURING THE PREVIOUS 4
       YEARS, THE WITNESS HAS TESTIFIED AS AN EXPERT AT TRIAL OR BY
       DEPOSITION.

                                                  4
         Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 5 of 6




         Mr. Hill has not testified as an expert witness in the last 4 years. But for the past 18 years

prior to his retirement from the APD, he was an expert in training police, military and first

responders from around the world. Hill also was an expert in the evaluation of police and military

force multipliers and response force tools and equipment.

Dated: August 25, 2023


                                                                       Respectfully Submitted,


                                                                                  /s/ John M. Pierce
                                                                                      John M. Pierce
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                                                                             Attorney for Defendant




                                                  5
         Case 1:22-cr-00354-RCL Document 50 Filed 08/25/23 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, August 25, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                             /s/ John M. Pierce
                                             John M. Pierce




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